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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

 IN THE MATTER OF THE APPLICATION                                     360
 FOR SEARCH WARRANTS,                               Case No. 3:21MJ___ (SDV)
 AUTHORIZATION FOR ARREST
 WARRANT, AND ISSUANCE OF                           Filed Under Seal
 CRIMINAL COMPLAINT

    AFFIDAVIT IN SUPPORT OF APPLICATIONS FOR SEARCH WARRANTS AND
     AUTHORIZATION FOR ARREST WARRANT AND CRIMINAL COMPLAINT

        I, Brian Hanko, being duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND BACKGROUND OF AFFIANT

        1.       I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have

been so employed since 2017. My experience as an FBI Special Agent has included the

investigation of violent crimes, counterintelligence, and public corruption. Since 2020, I have been

assigned to investigate human trafficking and violent crimes against children and have participated

in multiple investigations involving child exploitation, trafficking of child pornography, and online

enticement of minors. I received training and gained experience in interviewing and interrogation

techniques, arrest procedures, search warrant applications, the execution of searches and seizures,

and various other criminal law procedures. I am a federal law enforcement officer who is engaged

in enforcing federal criminal laws, and I am authorized by the Attorney General to request search

and arrest warrants.

        2.       I am a law enforcement officer of the United States within the meaning of Section

2510(7) of Title 18, United States Code, that is, an officer of the United States who is empowered

by law to conduct investigations of and to make arrests for offenses enumerated in 18 U.S.C. §

2516.




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       3.       FBI is investigating HECTOR TORRES, with a date of birth of xx-xx-1989, relating

to coercion and enticement of minors to engage in sexual activity, in violation of Title 18, United

States Code, Section 2422(b), production of child pornography, in violation of Title 18, United

States Code, Section 2251(a), and sex trafficking of minors, in violation of Title 18, United States

Code, Section 1591(a), (collectively, the “Target Offenses”).

       4.       This affidavit is first submitted in support of a criminal complaint and arrest warrant

for HECTOR TORRES, with a date of birth of xx-xx-1989, charging him with coercion and

enticement of minors to engage in sexual activity, in violation of Title 18, United States Code,

Section 2422(b), and production of child pornography, in violation of Title 18, United States Code,

Section 2251(a).

       5.       This affidavit is also submitted in support of applications for search warrants under

18 U.S.C. § 2703(c)(1)(A) and Federal Rule of Criminal Procedure 41 for the following:

                a.     The Apple iPhone assigned call number 203-737-0455, which is serviced by

T-Mobile, and used by HECTOR TORRES (“Target Phone 1”);

                b.     Information associated with the cellular device assigned call number 203-

737-0455 (“Target Phone 1”), commonly known as cell-site data, that is in the custody or control

of T-Mobile US, Inc., a wireless communications service provider that is headquartered at 4 Sylvan

Way, Parsippany, New Jersey, 07054;

                c.     Information associated with the Snapchat account for user identification

k.poet5 (“Target Account”), that is in the custody or control of Snap, Inc., headquartered at 2772

Donald Douglas Loop North, Santa Monica, California 90405; and

                d.     A 2017 white Subaru Legacy with Connecticut registration AX46460 and

Vehicle Identification Number 4S3BNAB65H3033376. (“Target Vehicle”).



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        6.     Target Phone 1 is an Apple iPhone assigned call number 203-737-0455, used by

TORRES and serviced by T-Mobile US, Inc., headquartered at 4 Sylvan Way, Parsippany, New

Jersey, 07054. For the reasons set forth in this affidavit, there is probable cause to believe that

Target Phone 1, as further specified in Attachment A-1, is used by and is in the possession of

TORRES, and that Target Phone 1 contains evidence and contraband and constitutes an

instrumentality of the Target Offenses, as further specified in Attachment B-1.

        7.     The information to be searched associated with Target Phone 1, commonly known

as cell-site data, is further specified in Attachment A-2. For the reasons set forth in this affidavit,

there is probable cause to search the information described in Attachment A-2 for evidence of the

Target Offenses, as described in Attachment B-2. The application for a search warrant seeks to

require T-Mobile to disclose to the government the information further described in Section I of

Attachment B-2. Upon receipt of the information described in Section I of Attachment B-2,

government-authorized persons will review the information to locate items described in Section II

of Attachment B-2.

        8.     The Target Account is a Snapchat account with user identification k.poet5 and is

further specified in Attachment A-3. For the reasons set forth in this affidavit, there is probable

cause to search the information described in Attachment A-3 for evidence, contraband,

instrumentalities, and fruits of the Target Offenses, as described in Attachment B-3. The

application for a search warrant seeks to require Snap, Inc. to disclose to the government the

information further described in Section I of Attachment B-3. Upon receipt of the information

described in Section I of Attachment B-3, government-authorized persons will review the

information to locate items described in Section II of Attachment B-3.




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       9.       The Target Vehicle is a 2017 white Subaru Legacy with Connecticut registration

AX46460 and Vehicle Identification Number 4S3BNAB65H3033376. According to Connecticut

Department of Motor Vehicles records, the Target Vehicle is registered to TORRES at the Target

Residence. For the reasons set forth in this affidavit, there is probable cause that the Target

Vehicle, as further specified in Attachment A-4, contains items that constitute instrumentalities and

evidence of the Target Offenses, as further specified in Attachment B-4;

        10.     T-Mobile and Snap, Inc. are wireless communications service providers

(collectively the “Service Provider”). As a provider of wireless communications service, the Service

Provider is a provider of an electronic communications service, as defined in 18 U.S.C. § 2510(15).

       11.      The statements contained in this affidavit are based in part on information provided

by witnesses with first-hand knowledge of the events described herein, other members of local,

state, and federal law enforcement, data extracted from at least one cellular phone, my own

investigation, to include personal observations, documents, and other investigative materials that I

have reviewed, as well as on my training and experience as a Special Agent with the FBI. Since

this affidavit is being submitted for the limited purpose of obtaining a criminal complaint, an arrest

warrant, and search warrants, I have not included each and every fact known to me concerning this

investigation. I have set forth only the facts that I believe are necessary to establish probable cause

exists to support the issuance of search warrants, a criminal complaint, and an arrest warrant, and

does not set forth all of my knowledge about this matter.

                                 SUMMARY OF PROBABLE CAUSE

        12.     As described in more detail below, from on or about November 11, 2020, through

on or about February 28, 2021, HECTOR TORRES, who was 31 years old, communicated via

Snapchat, text message, and FaceTime with three minor girls, ages 11 and 12, to persuade, induce,

entice or coerce them to engage in sexual activity with him. The minor girls, whose identities are
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known to me, are hereinafter referred to as Minor Victim 1 (“MV1”), Minor Victim 2 (“MV2”),

and Minor Victim 3 (“MV3”). MV1 and MV2 were each 12 years old at the time of the alleged

conduct, and MV3 was 11 years old at the time of the alleged conduct. On multiple occasions in

February 2021, TORRES picked up the girls and brought them to the parking lot of a shopping

plaza in Hartford, Connecticut, where they each performed oral sex on him at TORRES’s direction.

As described below, investigators located at least three videos of TORRES’s sexual abuse of these

minor girls, including at least one video where it appears TORRES held the camera. In another

video, the right side of TORRES’s face is visible, as are two distinctive tattoos on his hands.

        13.    HECTOR TORRES currently resides in Monroe, Connecticut. On March 30, 2021,

T-Mobile provided responsive records pursuant to an administrative subpoena requesting

subscriber information for telephone number 203-737-0455 (“Target Phone 1”), which, as

described below, is a number used by TORRES to communicate with at least one of the minor girls.

The responsive records identified the customer name as HECTOR TORRES and the subscriber

name as Individual A, known to be TORRES’s live-in girlfriend, with a service and billing address

at his home in Monroe from March 19, 2018 through the date of the subpoena return, March 30,

2021.

        14.    I conducted surveillance of TORRES’s home on April 7, 2021, and I observed an

individual, believed to be TORRES, leave in the Target Vehicle.

                                      STATUTORY AUTHORITY

         15.   As noted above, this investigation concerns alleged violations of 18 U.S.C. §

2422(b) and 18 U.S.C. §2251(a), which are set forth here:

               a.      18 U.S.C. § 2422(b) provides, “Whoever, using the mail or any facility or

means of interstate or foreign commerce, or within the special maritime and territorial jurisdiction


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of the United States knowingly persuades, induces, entices, or coerces any individual who has not

attained the age of 18 years, to engage in prostitution or any sexual activity for which any person

can be charged with a criminal offense, or attempted to do so, shall be [guilty of a crime].

               b.      The term ‘sexual activity for which any person can be charged with a

criminal offense’ includes the production of child pornography. . . .” 18 U.S.C. § 2427.

               c.      18 U.S.C. § 2251(a) provides, “Any person who employs, uses, persuades,

induces, entices, or coerces any minor to engage in . . . any sexually explicit conduct for the purpose

of producing any visual depiction of such conduct . . . shall be punished . . . if such person knows

or has reason to know that such visual depiction will be transported or transmitted using any means

or facility of interstate or foreign commerce or in or affecting interstate or foreign commerce or

mailed, if that visual production was produced or transmitted using materials that have been mailed,

shipped, or transported in or affecting interstate or foreign commerce by any means, including by

computer, or if such visual depiction has actually been transported or transmitted using any means

or facility of interstate or foreign commerce or in or affecting interstate or foreign commerce or

mailed.”

                                           DEFINITIONS

       16.     The following definitions apply to this Affidavit:

                    a. “Child Pornography,” as used herein, includes the definition in 18 U.S.C. §

2256(8) (“any visual depiction including any photograph, film, video, picture, or computer or

computer-generated image or picture, whether made or produced by electronic, mechanical, or

other means of sexually explicit conduct, where (A) the production of such visual depiction

involves the use of a minor engaging in sexually explicit conduct; (B) such visual depiction is a

digital image, computer image, or computer-generated image that is, or is indistinguishable from,


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that of a minor engaging in sexually explicit conduct; or (C) such visual depiction has been created,

adapted, or modified to appear that an identifiable minor is engaged in sexually explicit conduct.”),

and also includes any visual depiction, the production of which involves the use of a minor engaged

in sexually explicit conduct. 18 U.S.C. §§ 2252 and 2256(2).

                   b. “Computer,” as used herein, refers to “an electronic, magnetic, optical,

electrochemical, or other high speed data processing device performing logical or storage functions,

and includes any data storage facility or communications facility directly related to or operating in

conjunction with such device” and includes smartphones, and mobile phones and devices. 18 U.S.C.

§ 1030(e)(1).

                   c. “Computer hardware,” as used herein, consists of all equipment that can

receive, capture, collect, analyze, create, display, convert, store, conceal, or transmit electronic,

magnetic, or similar computer impulses or data. Computer hardware includes any data-processing

devices (including central processing units, internal and peripheral storage devices such as fixed

disks, external hard drives, floppy disk drives and diskettes, and other memory storage devices);

peripheral input/output devices (including keyboards, printers, video display monitors, and related

communications devices such as cables and connections); as well as any devices, mechanisms, or

parts that can be used to restrict access to computer hardware (including physical keys and locks).

                   d. “Computer passwords and data security devices,” as used herein, consist of

information or items designed to restrict access to or hide computer software, documentation, or

data. Data security devices may consist of hardware, software, or other programming code. A

password (a string of alphanumeric characters) usually operates what might be termed a digital key

to “unlock” particular data security devices. Data security hardware may include encryption

devices, chips, and circuit boards. Data security software may include programming code that


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creates “test” keys or “hot” keys, which perform certain pre-set security functions when touched.

Data security software or code may also encrypt, compress, hide, or “booby-trap” protected data to

make it inaccessible or unusable, as well as reverse the process to restore it.

                     e. “Minor” means any person under the age of 18 years. 18 U.S.C. § 2256(1).

                     f. “Sexually explicit conduct,” as used herein “means actual or simulated—(i)

sexual intercourse, including genital-genital, oral-genital, anal-genital, or oral-anal, whether

between persons of the same or opposite sex; (ii) bestiality; (iii) masturbation; (iv) sadistic or

masochistic abuse; or (v) lascivious exhibition of the anus, genitals, or pubic area of any person;

                    g.   “Visual depiction” includes undeveloped film and videotape, data stored on

computer disk or by electronic means which is capable of conversion into a visual image, and data

which is capable of conversion into a visual image that has been transmitted by any means, whether

or not stored in a permanent format. 18 U.S.C. § 2256(5).

               h.        A “wireless telephone” (or mobile telephone, or cellular telephone) is a

handheld wireless device used for voice and data communication through radio signals. These

telephones send signals through networks of transmitter/receivers, enabling communication with

other wireless telephones or traditional “land line” telephones. A wireless telephone usually

contains a “call log,” which records the telephone number, date, and time of calls made to and from

the phone. In addition to enabling voice communications, wireless telephones offer a broad range

of capabilities. These capabilities include: storing names and phone numbers in electronic “address

books;” sending, receiving, and storing text messages and e-mail; taking, sending, receiving, and

storing still photographs and moving video; storing and playing back audio files; storing dates,

appointments, and other information on personal calendars; and accessing and downloading




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information from the Internet. Wireless telephones may also include global positioning system

(“GPS”) technology for determining the location of the device.

               i.     A “digital camera” is a camera that records pictures as digital picture files,

rather than by using photographic film. Digital cameras use a variety of fixed and removable storage

media to store their recorded images. Images can usually be retrieved by connecting the camera to

a computer or by connecting the removable storage medium to a separate reader. Removable

storage media include various types of flash memory cards or miniature hard drives. Most digital

cameras also include a screen for viewing the stored images. This storage media can contain any

digital data, including data unrelated to photographs or videos.

               j.     A “GPS” navigation device uses the Global Positioning System to display

its current location. It often contains records the locations where it has been. Some GPS navigation

devices can give a user driving or walking directions to another location. These devices can contain

records of the addresses or locations involved in such navigation. The Global Positioning System

(generally abbreviated “GPS”) consists of 24 NAVSTAR satellites orbiting the Earth. Each satellite

contains an extremely accurate clock. Each satellite repeatedly transmits by radio a mathematical

representation of the current time, combined with a special sequence of numbers. These signals are

sent by radio, using specifications that are publicly available. A GPS antenna on Earth can receive

those signals. When a GPS antenna receives signals from at least four satellites, a computer

connected to that antenna can mathematically calculate the antenna’s latitude, longitude, and

sometimes altitude with a high level of precision.

               BACKGROUND INFORMATION REGARDING SNAPCHAT

       17.     Snapchat is one of the most popular applications for sending and receiving “self-

destructing” messages, pictures, and videos. Referred to as “snaps,” the company processes


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approximately 700 million of them every day on Apple’s iOS and Google’s Android operating

systems. Snapchat users access the application frequently; according to marketing material

provided by the company, the average Snapchat user checks their account 20 times a day.

       18.     Snap, Inc., headquartered in Santa Monica, California, owns and operates this

service via a free access social networking website of the same name that can be accessed at

http://snapchat.com. Through the service, users can make a “snap,” which is a picture or video

message taken and shared with other Snapchat users in real-time. The sender of a snap has the

option of setting a timer for how long a snap can be viewed. Once a snap has been viewed, it is

deleted from the company’s system and is no longer visible to the recipient. Snapchat users can

send text messages to others using the Chat feature. Once a user leaves the Chat screen, messages

viewed by both the sender and the receiver will not no longer be visible. The application notifies

other users when they are online so that can begin messaging each other. In addition, Snapchat users

can send pictures to other users by utilizing the camera on their device. Pictures can also be sent

from the saved pictures in the photo gallery of the device. Accessing a Snapchat account and

“snaps” constitute “electronic communications” within the meaning of 18 U.S.C. § 3123. See 18

U.S.C. §§ 3127(1) and 2510(12).

       19.     “Our Stories” is a collection of user submitted “Snaps” from different locations and

events. A Snapchat user from different locations and events. A Snapchat user, with the location

services of their device turned on, can contribute to a collection of snaps regarding the event. For

example, multiple different Snapchat users at an event could all contribute to the same “Our Stories”

collection by sharing their snaps, even if they do not know each other. Users can also view “Our

Stories” events if they are not actually present at the event by subscribing to the story. In addition

to “Our Stories,” a Snapchat user can keep a sort of photo/video diary using the “Story” feature.


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Each snap in a “Story” documents the user’s experience. Based on the user’s privacy settings, the

photos and videos added to a “Story” can be viewed either by everyone on Snapchat or just the

user’s friend. Stories are visible to other users for up to 24 hours.

        20.    While a Snapchat message may disappear, the record of who sent it and when it was

sent still exists. Snapchat records and retains information that is roughly analogous to the call detail

records maintained by telecommunications companies. This includes the date, time, sender, and

recipient of a snap. Additionally, Snapchat stores the number of messages exchanged, which users

they communicate with the most, message status, including if and when the message was opened,

and whether the receiver used the native screen capture function of their device to take a picture of

the snap before it disappeared.

        21.    Snapchat asks users to provide basic contact and personal identifying information to

include date of birth. When a user creates an account they make a unique Snapchat username. This

is the name visible to other Snapchat users. An email address is required to register a Snapchat

account and a new user must also provide a mobile phone number. This phone number is verified

during the registration process. Snapchat sends an activation code which must be entered before

proceeding with the registration step. However, a user may elect to bypass entering a phone number

so one may not always be present in the user’s account. Snapchat also retains the account creation

date.

        22.    Snapchat stores device information such as the model, operating system, operating

system version, mobile device phone number, and mobile network information of devices used in

conjunction with the service. They also collect unique device identifiers such as the Media Access

Control (MAC) address and the International Mobile Equipment Identifier (IMEI) or Mobile

Equipment Identifier (MEID) of devices used to access Snapchat. In the event the Snapchat user’s


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application crashes, the company also collects a list of other installed applications on the device to

detect any potential software conflicts.

       23.     Snapchat servers may contain data not recoverable from a user’s mobile device if

messages were not opened by users. Snapchat retains unopened snaps sent directly to a recipient

for 30 days and an unopened snap in Group Chat for 24 hours. In addition, a user can save a message

in Chat by pressing and holding the message. Snapchat servers may also contain data not

recoverable from a user’s mobile device due to the Memories function which is Snapchat’s cloud

storage service. Users can save their sent or unsent snaps, posted Stories, and photos and videos

from their phone’s photo gallery in Memories. Content saved in Memories is backed up by Snapchat

and may remain in Memories until deleted by the user.

       24.     A Snapchat vanity name is different from the account’s username. The vanity name

can be changed by the user, but the username remains the same over time and is needed to

particularly identify the account.

                                       PROBABLE CAUSE

       A.      Initial Reports to Law Enforcement

        25.    On or about March 4, 2021, the mother of MV1 and MV2 filed a complaint with a

local police department in Connecticut alleging that while the mother was using MV1’s phone, the

phone received a Snapchat message from a family friend, HECTOR TORRES. The mother then

read through previous messages between TORRES and MV1 and saw messages from TORRES in

which he asked for naked pictures of MV1, as well as conversations about TORRES performing

sexual acts with MV1. The mother further reported that, according to MV1 and MV2, there were

videos on MV1’s phone of both MV1 and MV2 engaged in oral sex on TORRES.




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       26.    On or about March 5, 2021, a relative of MV3 (Witness 1) filed a complaint with a

different police department in Connecticut. According to Witness 1, MV3 showed her a video of

MV3’s friend engaged in oral sex on an adult man, which had been downloaded to the phone via a

Snapchat account. MV3 told Witness 1 that MV3 had also done “things” with the man, known to

MV3 as HECTOR and later identified by law enforcement as HECTOR TORRES, who promised

to buy MV3 a pair of shoes and vaping items. MV3 told Witness 1 that a video existed of MV3

engaged in oral sex on TORRES as well and that the video had been recorded in a grocery store

parking lot located at 150 New Park Avenue in Hartford, Connecticut, on February 26, 2021.

Additionally, Witness 1 discovered text messages between MV3 and the user of telephone number

203-737-0455, in which a person later identified as TORRES instructed MV3 to tell other people

that it was a different HECTOR who communicated with them. MV3 told Witness 1 that HECTOR

used telephone number 203-737-0455 (Target Phone 1).

       B.     Forensic Interviews of MV1, MV2, and MV3

       27.    On March 11 and 12, 2021, a trained child forensic interviewer conducted separate

interviews of MV1, MV2, and MV3 at a Children’s Advocacy Center in Connecticut. The

interviews were video recorded. According to those videos, which I have viewed, the minor girls

disclosed the following, among other things:

              a.      MV1 and MV2 stated that HECTOR TORRES was a person they knew

through their family and that he was a “godbrother” or “uncle” to them. MV3 stated that she met

HECTOR through MV1 and MV2. MV3 did not know HECTOR’s last name.

              b.      They all communicated with HECTOR TORRES via Snapchat (sometimes

in group chats) and also sometimes via text message and FaceTime, a video chatting application

available on Apple iPhones.


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              c.     HECTOR TORRES promised to give them money and/or buy them things if

they sent him photos of their bodies and/or performed oral sex on him. In particular, he promised

to buy them Nike sneakers, vaping supplies, and food.

              d.     HECTOR TORRES asked them to send him photos of their breasts, butts,

and vaginas. MV1, MV2, and MV3 stated that, in response to TORRES’s requests, they did send

TORRES photos of their breasts and butts, but that they sent “fake” photos of their vaginas,

meaning they searched online to find photos of other people’s vaginas to send to him instead of

sending their own.

              e.     MV1, MV2, and MV3 each disclosed that they performed oral sex on

TORRES at his request and direction at least one time in his car, which was parked in a shopping

center parking lot in Hartford. Specifically, they each stated that they placed their mouths on

TORRES’s penis:

                     (i.)     MV1 stated that she performed oral sex on TORRES when she was

in his car together with MV2 and MV3. According to both MV1 and MV3, MV3 recorded MV1

perform oral sex on TORRES with MV3’s cell phone. This appears to be Video 3 described below,

which was located on MV3’s cell phone.

                     (ii.)    MV2 stated that she performed oral sex on TORRES when she was

alone with TORRES in his car and that TORRES recorded her doing it with his cell phone. This

appears to be Video 1 described below, which was located on MV3’s cell phone. MV3 stated that

she had a copy of this video on her phone because MV2 asked TORRES to send it to them, and he

did.

                     (iii.)   MV3 stated that she performed oral sex on TORRES when she was

in his car together with MV2, and that MV2 recorded her doing it with MV3’s cell phone. This


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appears to be Video 2 described below, which was located on MV3’s cell phone. MV3 further

stated that she performed oral sex on TORRES another time when she was in his car with MV1

and MV2, and that she did so because TORRES was aggressive and she was afraid when he

became angry.

       f.      MV3 described TORRES’s car as white and having four doors, black tinted

windows, and black seats, which is consistent with the Target Vehicle.

       g.      MV1 stated that she left her headphones in the Target Vehicle on the same day that

she performed oral sex on TORRES.

       C.      Examination of MV3’s Phone 1

       28.     On or about March 8, 2021, I met with MV3 and her father. They gave me MV3’s

Apple iPhone 11 and signed a consent form to search the device. The Apple iPhone 11 is

manufactured by Apple Inc., and no Apple iPhones are manufactured in Connecticut. The majority

of Apple iPhones are manufactured China. In addition, Foxconn, the manufacturing company of

Apple iPhones, maintains manufacturing facilities in Thailand, Malaysia, the Czech Republic,

South Korea, Singapore, and the Philippines.

                   i. Videos in MV3’s phone

        29.    I reviewed the digital extraction from MV3’s iPhone and observed videos and

images that contain child pornography, including the following three videos:

                Creation Date         Description
     Video 1     2/24/2021            This video depicts a girl leaning over with her head near the
                10:51:21 p.m.         lap of a man, engaged in oral sex on him. The man is seated
                (UTC+0)               on the left side of the video frame, and the video appears to
                                      be captured from the left side of the video frame, consistent
                                      with the man holding the camera. The girl has dark, curly

1
 The cell phones of MV1 and MV2 are also being searched by law enforcement, but I do not yet have a
full forensic report of those searches.
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                                      hair, is wearing a light-colored top, and is seated on the right
                                      side of the video frame. The man’s face is not visible in this
                                      video as the camera is focused on the man’s lap. Based on
                                      the interviews of MV1, MV2, and MV3, I believe the girl in
                                      this video is MV2.
     Video 2    3/4/2021              This video depicts a girl, known to be MV3, leaning over
                10:42:17 p.m.         with her head near the lap of a man, engaged in oral sex on
                (UTC+0)               him. This video appears to be captured from the viewpoint
                                      of above, with the man seated on the left side of the video
                                      frame and MV3 on the right side of the video frame. The
                                      man’s face is not visible in this video as the camera is
                                      focused on the man’s lap.
     Video 3     2/27/2021            This video, which is captured inside a vehicle, depicts a girl
                2:20:35 a.m.          leaning over with her head near the lap of a man, engaged in
                (UTC+0)               oral sex on him. The girl, who is seated in the front passenger
                                      seat, has dark, curly hair and is wearing a yellow and white
                                      striped top. The man is seated in the driver’s seat, and the
                                      right side of the man’s face is visible. I compared the man in
                                      this video with photos of HECTOR TORRES from the
                                      Connecticut Department of Motor Vehicles, and the man in
                                      this video appears to be TORRES. Based on the interviews
                                      of MV1, MV2, and MV3, I believe the girl in this video is
                                      MV1. This video appears to be filmed from the rear
                                      passenger side of the vehicle by an individual wearing jeans
                                      with a hole on the left thigh. An individual wearing pink,
                                      white, and black camouflage pants is seated in the rear
                                      driver’s side seat. Even though the faces of these two
                                      individuals in the back seat of the vehicle are not visible, I
                                      believe they are MV2 and MV3 based on their clothing
                                      because there is another video on MV3’s phone where MV2
                                      and MV3 appear to be wearing the same clothing on the
                                      same day.


       30.     In Video 3, a large tattoo is visible on the top of the man’s right hand, and a smaller

tattoo is visible near the thumb on his left hand. I compared the tattoos in Video 3 with photographs

of TORRES’s hand tattoos that were taken in 2019 by the Stamford Police Department, as seen

below. The tattoos appear to be the same.



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       31.     Also in Video 3, the front driver’s side compartment of the vehicle is viewable. A

Subaru logo is displayed on the steering wheel, and the instrument cluster appears to be consistent

with online stock images of a 2017 Subaru Legacy, which is the year, make, and model of the

Target Vehicle.

               ii.    MV3’s Messages with TORRES

       32.     The search of MV3’s phone further revealed text messages and chats with TORRES

using both the text message feature on MV3’s phone as well as through Snapchat.

       33.     MV3’s text messages with TORRES occurred via Target Phone 1, which was listed

                                  ⣰೚೚.” Also associated with this contact in MV3’s phone,
in MV3’s contacts as “Hector~plugჇ⣬
                                  ⣯
                                  ⣮
                                  ⣭

via the WhatsApp application, was a photograph of a man. I compared that photograph with a

photograph of TORRES from the Connecticut Department of Motor Vehicles, and it appears to be

the same person.

       34.     According to FBI’s analysis of MV3’s phone, in MV3’s Snapchat conversations

with TORRES, his side of the conversations occurred via chats with a 36-character Snapchat

identifier ending in the letters and numbers “28f54f.” The username and/or vanity name used by

TORRES did not show up on FBI’s phone analysis, most likely because TORRES had deleted his

account by the time FBI received MV3’s phone. However, FBI obtained a second copy of MV3’s


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Snapchat conversations with TORRES from Witness 1. Upon learning of the sexual contact

between MV3 and TORRES, Witness 1 video recorded the Snapchat messages on MV3’s phone. I

reviewed Witness 1’s video of MV3’s Snapchat conversation with TORRES, and I saw that the

message exchange appears to be the same conversation between MV3 and user identifier 28f54f

from FBI’s phone analysis. 2 On Witness 1’s copy of the conversation, however, TORRES used the

names “kabiosilee” and “k.poet5.” The name “SHOWTIME” is also associated with TORRES on

Witness 1’s copy of the conversation. MV3 stated in her forensic interview that she knew HECTOR

by the nickname “SHOWTIME.”

       35.     Below are excerpts of some of the communications between MV3 and TORRES:

 Timestamp           From                       Body                                          Format

 1/31/2021           MV3                        Hey hector I was wondering if you can         Text
 5:05:42 PM                                     drop [MV1 and MV2] off at my house            message
 (UTC+0)                                        today
 1/31/2021           Target Phone 1             Who’s this?                                   Text
 5:21:00 PM                                                                                   message
 (UTC+0)
 1/31/2021           MV3                        [Redacted MV3’s name]                         Text
 5:21:14 PM                                                                                   message
 (UTC+0)
 1/31/2021           Target Phone 1             Oh idk 3 I’ll try                             Text
 5:21:37 PM                                                                                   message
 (UTC+0)


 2/18/2021           TORRES                     So Friday I just got home                     Snapchat
 6:01:31 AM
 (UTC+0)



2
 MV3’s conversation with TORRES that Witness 1 video recorded appears to be a more complete version
of the conversation than the version downloaded by FBI from MV3’s phone. This may be the result of
TORRES deleting, or attempting to delete, the Snapchat conversation after Witness 1 recorded it, but before
FBI was able to download it from MV3’s phone.
3
 Based on my training and experience, I know that “idk” is often shorthand for “I don’t know” when used
in chats or text messages.

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2/18/2021            MV3                        ?                                              Snapchat
6:02:21 AM
(UTC+0)
2/18/2021            TORRES                     The mall                                       Snapchat
6:08:44 AM
(UTC+0)
2/18/2021            MV3                        ohhh ok                                        Snapchat
6:09:05 AM
(UTC+0)
2/18/2021            TORRES                     ჁჁჁჁ                                           Snapchat
6:13:03 AM
(UTC+0)
2/18/2021            MV3                        No                                             Snapchat
6:21:04 AM
(UTC+0)
2/18/2021            TORRES                     Suck till I cum                                Snapchat
6:24:51 AM
(UTC+0)
2/18/2021            MV3                        ok♨                                            Snapchat
6:25:54 AM
(UTC+0)
2/18/2021            MV3                        Just the air forces 4                          Snapchat
6:51:27 AM
(UTC+0)


2/19/2021            TORRES                     Hey                                            Snapchat
5:41:48 PM
(UTC+0)
2/19/2021            MV3                        Yo                                             Snapchat
5:42:00 PM
(UTC+0)
2/19/2021            MV3                        I’m sucking dick                               Snapchat
5:45:47 PM
(UTC+0)
2/19/2021            MV3                        Yes                                            Snapchat
5:50:06 PM
(UTC+0)
2/19/2021            TORRES                     Lit lol you excited Lmaoo jkjk                 Snapchat
5:54:22 PM
(UTC+0)




4
 Based on my knowledge of this investigation and the interviews of the minor girls, “air forces” is likely
a reference to Nike Air Force sneakers, which TORRES bought for MV1 and MV2.
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2/19/2021            MV3                        Ahahaha ig lmao ♨                             Snapchat
5:54:55 PM
(UTC+0)
2/19/2021            MV3                        you right጑ ♨                                 Snapchat
6:00:41 PM
(UTC+0)
2/19/2021            TORRES                     After this whenever you wanna practice        Snapchat
6:03:49 PM                                      just lmk you can suck it anytime shit
(UTC+0)                                         lmao Ⴡ I ain’t gunna say no to head
                                                plus I’ll tell you how to do it etc that
                                                way when you actually do it to a boy
                                                you like or boyfriend your going to be a
                                                beast at it and he going to be eating out
                                                your hard trust of you give good head
                                                you’ll have any nigga whooped
2/19/2021            TORRES                     Yea I know but after today just use me        Snapchat
6:07:08 PM                                      for practice ima teach you how to be a
(UTC+0)                                         beast watch your gunna have these
                                                niggas eating out of your hand
                                                worshipping the ground you walk on
                                                just take my advice trust
2/19/2021            MV3                        igh 5 thx♨჋                                   Snapchat
6:10:37 PM
(UTC+0)


2/19/2021            TORRES                     soo will your mom let you “go get             Snapchat
9:57:29 PM                                      food”? Before I go to your house I can
(UTC+0)                                         get your sneakers then on the drive to
                                                get food or go to the store or w.e you
                                                suck it I’ll give you the sneakers?
2/19/2021            TORRES                     I know but things don’t go as planned         Snapchat
9:59:03 PM                                      just send another Toti pic 6 and I’ll just
(UTC+0)                                         get you a nape for both pics and we call
                                                it even
2/19/2021            MV3                        I think ima go with the vape                  Snapchat
10:00:51 PM
(UTC+0)
2/19/2021            TORRES                     So no sneakers?                               Snapchat
10:01:03 PM
(UTC+0)

5
 Based on my training and experience, I know that “igh” or “ight” is often shorthand for “alright” when
used in chats or text messages.
6
 Based on my knowledge of this investigation, “toti pic” is likely a reference to a picture of MV3’s
breasts.
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2/19/2021     MV3                 No                               Snapchat
10:01:09 PM
(UTC+0)
2/19/2021     MV3                 mmm idk did she do it?           Snapchat
10:09:53 PM
(UTC+0)
2/19/2021     TORRES              Yea question is are you lol      Snapchat
10:13:47 PM
(UTC+0)
2/19/2021     MV3                 Maybe                            Snapchat
10:14:07 PM
(UTC+0)
2/19/2021     TORRES              I’m around the corner            Snapchat
10:14:16 PM
(UTC+0)
2/19/2021     TORRES              So when I come back?             Snapchat
10:14:24 PM
(UTC+0)
2/19/2021     MV3                 Yes probably                     Snapchat
10:14:31 PM
(UTC+0)
2/19/2021     TORRES              Or better now l?                 Snapchat
10:14:34 PM
(UTC+0)
2/19/2021     TORRES              It’s cool when I come back       Snapchat
10:16:47 PM
(UTC+0)
2/19/2021     MV3                 Yea sure                         Snapchat
10:17:02 PM
(UTC+0)
2/19/2021     TORRES              Bet                              Snapchat
10:18:05 PM
(UTC+0)
2/19/2021     TORRES              Lmaooo why Ⴡ                     Snapchat
11:13:53 PM
(UTC+0)
2/19/2021     MV3                 Ok                               Snapchat
11:20:50 PM
(UTC+0)
2/20/2021     TORRES              Leaving now                      Snapchat
12:45:45 AM
(UTC+0)
2/20/2021     MV3                 Ok                               Snapchat
12:45:56 AM
(UTC+0)


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2/20/2021           MV3                       You have the video of me                      Snapchat
2:45:40 AM
(UTC+0)
2/20/2021           MV3                       Ok                                            Snapchat
2:49:54 AM
(UTC+0)
2/20/2021           TORRES                    Hey                                           Snapchat
4:28:36 AM
(UTC+0)
2/20/2021           MV3                       Hi                                            Snapchat
4:29:26 AM
(UTC+0)
2/20/2021           MV3                       thank you                                     Snapchat
4:32:29 AM
(UTC+0)
2/20/2021           MV3                       yea ofc 7 I won’t tell no one                 Snapchat
4:33:05 AM
(UTC+0)
2/20/2021           TORRES                    ჁჁჁ                                           Snapchat
5:22:17 AM
(UTC+0)


2/23/2021           MV3                       Hecor                                         Snapchat
6:06:18 PM
(UTC+0)
2/23/2021           TORRES                    [Redacted a version of MV3’s name]            Snapchat
6:37:32 PM
(UTC+0)
2/23/2021           MV3                       And what vape you get                         Snapchat
8:12:45 PM
(UTC+0)
2/23/2021           TORRES                    Ima get it to you regardless I always         Snapchat
8:16:17 PM                                    keep my promises just gotta find time
(UTC+0)                                       to do it I’m actually off tomorrow I can
                                              deff bring the vapes then
2/23/2021           TORRES                    Ok look at you get it lol                     Snapchat
8:45:58 PM
(UTC+0)
2/23/2021           TORRES                    You still a virgin?                           Snapchat
8:46:03 PM
(UTC+0)


7
 Based on my training and experience, I know that “ofc” is often shorthand for “of course” when used in
chats or text messages.

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2/23/2021         MV3             Yes                                        Snapchat
8:46:29 PM
(UTC+0)
2/23/2021         TORRES          He won’t know the difference plus 1        Snapchat
8:51:24 PM                        your gonna fuck plenty guys in your
(UTC+0)                           life some even that you not in a
                                  relationship with 2 you gain experience
                                  and you’ll do a good job your first time
2/23/2021         MV3             True                                       Snapchat
8:51:48 PM
(UTC+0)
2/23/2021         MV3             I’ll think about it                        Snapchat
8:52:24 PM
(UTC+0)
2/24/2021         MV3             Lmao maybe another day                     Snapchat
10:00:27 PM
(UTC+0)
2/24/2021         MV3             Hector ima need some money by my           Snapchat
10:03:40 PM                       birthday [Redacted MV3’s birthday] so
(UTC+0)                           if I suck it again before [Redacted
                                  MV3’s birthday] you finna give me
                                  some money for me to suck it again
2/25/20211:44:5   MV3             [Redacted MV2’s name]                      Snapchat
1 AM (UTC+0)
2/25/2021         MV3             Idk lmao                                   Snapchat
1:46:07 AM
(UTC+0)
2/25/2021         TORRES          Ahhh okok                                  Snapchat
1:48:00 AM
(UTC+0)
2/25/2021         MV3             Yea $40                                    Snapchat
1:58:41 AM
(UTC+0)
2/25/2021         MV3             Right                                      Snapchat
1:58:43 AM
(UTC+0)
2/25/2021         TORRES          I’m coming                                 Snapchat
2:44:51 AM
(UTC+0)
2/25/2021         TORRES          Address                                    Snapchat
2:44:54 AM
(UTC+0)
2/25/2021         TORRES          Be there in 12 min                         Snapchat
2:45:49 AM
(UTC+0)


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2/26/2021            MV3                        ima have to think about it, I would            Snapchat
8:47:17 PM                                      probably do it for $50 today because
(UTC+0)                                         my parents are at work but idk it can’t
                                                be too late because they will be back at
                                                like 9:00 or 7:00 some where around
                                                there
2/26/2021            TORRES                     Ok deal                                        Snapchat
8:49:41 PM
(UTC+0)
2/26/2021            MV3                        ok then                                        Snapchat
8:49:47 PM
(UTC+0)
2/26/2021            TORRES                     Bet                                            Snapchat
8:49:54 PM
(UTC+0)
2/27/2021            MV3                        Yes                                            Snapchat
1:51:55 AM
(UTC+0)
2/27/2021            TORRES                     Lmaoo lemme seeee                              Snapchat
1:52:03 AM
(UTC+0)
2/27/2021            TORRES                     Dale lol 8                                     Snapchat
1:52:23 AM
(UTC+0)
2/27/2021            MV3                        [Video 3 described above, believed to          Snapchat
2:20:36 AM                                      depict MV1, was attached to this
(UTC+0)                                         message.]
3/4/2021                                        Mother of MV1 and MV2 report videos
                                                to law enforcement.
3/4/2021             Target Phone 1             Tell em don’t say nun I blocked her on         Text
12:51:00 AM                                     snap tell her to say it was someone else
(UTC+0)                                         and that I don’t have them on snap only
                                                insta cuz she didn’t have my name
                                                saved on snap only under sugar daddy
                                                H
3/4/2021             MV3                        She told them it was you already               Text
12:52:06 AM
(UTC+0)




8
 Based on my training and experience, I know that “dale” is often used as slang for “give it” or “go for it”
when used in chats or text messages.

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3/4/2021               Target Phone 1           Bro wtf noooo ima get in so much           Text
12:53:50 AM                                     trouble tell em to say it was someone
(UTC+0)                                         else or something wtf პპ
3/4/2021               MV3                      Right I know they should have not said     Text
12:54:56 AM                                     it was you but now it’s too late her
(UTC+0)                                         mom called her god father something
                                                liked that and she was basically crying
                                                on the phone with him
3/4/2021               Target Phone 1           Tell them to come up with something        Text
12:56:14 AM                                     and say it wasn’t me that she just
(UTC+0)                                         agreed because she was nervous and
                                                she said it was me cuz her mom
                                                assumed it was me but that it wasn’t me
3/4/2021               Target Phone 1           Please tell them to say it wasn’t me plz   Text
12:56:45 AM                                     ima get in trouble
(UTC+0)
3/4/2021               MV3                      ok                                         Text
12:56:57 AM
(UTC+0)
3/4/2021               Target Phone 1           Delete everything on your phone please     Text
12:57:11 AM                                     yk 9 what I’m talking about
(UTC+0)
3/4/2021               MV3                      Ok                                         Text
12:57:31 AM
(UTC+0)
3/4/2021               Target Phone 1           Lmk 10 what’s going on plz                 Text
12:57:56 AM
(UTC+0)
3/4/2021               MV3                      ~/Library/SMS/Attachments/b7/07/49E        Text
12:58:04 AM                                     4FAA9-4BC2-4407-BA09-
(UTC+0)                                         4B9AFFA9C5A3/IMG_3562.jpg 11
3/4/2021               Target Phone 1           How does she really know if it was me      Text
12:59:52 AM                                     or not? Just tell her to say you didn’t
(UTC+0)                                         really let me talk it wasn’t him I don’t
                                                even have them on snap or something
                                                tell them anything but figure a way to
                                                say it wasn’t me how hard is that


9
 Based on my training and experience, I know that “yk” is often shorthand for “you know” when used in
chats or text messages.
10
  Based on my training and experience, I know that “lmk” is often shorthand for “let me know” when
used in chats or text messages.
11
     MV3 sent a screenshot of a separate text conversation she was having with MV2.

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3/4/2021               Target Phone 1           Do you know what [MV1’s nickname]           Text
1:01:16 AM                                      told her tho?
(UTC+0)
3/4/2021               Target Phone 1           So I know what’s being said                 Text
1:01:27 AM
(UTC+0)
3/4/2021               MV3                      No                                          Text
1:01:28 AM
(UTC+0)
3/4/2021               MV3                      Hecor [Redacted MV2’s name] told me Text
1:03:56 AM                                      that her mom had you on snap and
(UTC+0)                                         knows what your bitmoji looks like
3/4/2021               Target Phone 1           But I got them blocked and she don’t       Text
1:05:07 AM                                      got no SS or nothing all she has to say it
(UTC+0)                                         wasn’t Héctor it was someone else she
                                                didn’t have my named saved either
3/4/2021               Target Phone 1           How is [MV2’s nickname] writting           Text
1:05:35 AM                                      you? She still got her phone?
(UTC+0)
3/4/2021               MV3                      She’s texting me                            Text
1:05:50 AM
(UTC+0)
3/4/2021               Target Phone 1           So ask her what [MV1’s nickname] said       Text
1:06:45 AM                                      to her mom so I can figure out
(UTC+0)                                         something for her to say that’s
                                                believable
3/4/2021               MV3                      ~/Library/SMS/Attachments/3e/14/83E         Text
1:08:41 AM                                      6A288-E7AC-417F-A4EB-
(UTC+0)                                         E9CBCC4A09D4/IMG_3565.jpg 12
3/4/2021               MV3                      But hecor i did all that for shoes and      Text
1:09:21 AM                                      still didn’t get anything so you going to
(UTC+0)                                         give me my shoes tho
3/4/2021               Target Phone 1           Yea I got you I been told you after my      Text
1:10:05 AM                                      pinaldo
(UTC+0)
3/4/2021               MV3                      oh ok because i thought after all that      Text
1:10:32 AM                                      you wasn’t finna give me my shoes
(UTC+0)
3/4/2021               Target Phone 1           My ceremony is next week after the          Text
1:10:54 AM                                      ceremony I got you
(UTC+0)
3/4/2021               Target Phone 1           Anyways so does she know I sent too??       Text
1:12:03 AM                                      Or she thinks only she sent?
(UTC+0)

12
     MV3 sent a screenshot of a separate text conversation she was having with MV2.
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 3/4/2021          MV3                    Idk                                          Text
 1:12:13 AM
 (UTC+0)
 3/4/2021          MV3                    She isn’t telling me                         Text
 1:12:18 AM
 (UTC+0)
 3/4/2021          Target Phone 1         Just tell her she sent it a long time ago Text
 1:12:54 AM                               by accident that she meant to send it to
 (UTC+0)                                  her bf that’s it
 3/4/2021          Target Phone 1         And that she apologized and I said I      Text
 1:19:03 AM                               won’t tell your mom this time just don’t
 (UTC+0)                                  send people stuff like that yk like
                                          giving her advice for the future or some
                                          stupid shit like that
 3/4/2021          MV3                    Did it work                               Text
 1:19:42 AM
 (UTC+0)
 3/4/2021          Target Phone 1         Did what work?                               Text
 1:19:57 AM
 (UTC+0)
 3/4/2021          MV3                    You said you told her mom t                  Text
 1:20:17 AM
 (UTC+0)
 3/4/2021          MV3                    To not send people stuff                     Text
 1:20:30 AM
 (UTC+0)
 3/4/2021          Target Phone 1         No I’m telling you to tell her to say that   Text
 1:20:35 AM
 (UTC+0)
 3/4/2021          Target Phone 1         Reread the message                           Text
 1:20:45 AM
 (UTC+0)
 3/4/2021          MV3                    I can’t she blocked me and texted me         Text
 1:21:07 AM                               on iMessage saying she is with her
 (UTC+0)                                  mom and to not text her
 3/4/2021          Target Phone 1         Ok well lmk                                  Text
 1:21:25 AM
 (UTC+0)


      36.     In addition to the Snapchat and text messages, the search of MV3’s phone showed

a call log of approximately 20 FaceTime communications with Target Phone 1, listed in MV3’s

                         ⣰೚೚” for the time period of 2/6/2021 through 3/4/2021.
contacts as “Hector~plugჇ⣬
                         ⣯
                         ⣮
                         ⣭


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       D.      Evidence of TORRES’s Contact with Other Minors

       37.     During MV1’s forensic interview, she revealed that TORRES had been in contact

with at least four other minor girls. Specifically, MV1 disclosed that she knew TORRES had

communicated via Snapchat with a minor girl who was approximately 13 years old who lives in

Massachusetts, and she provided a first name of that girl. MV1 stated that the 13 year-old girl from

Massachusetts may have sent naked photos of herself to TORRES. MV2 and MV3 also stated that

TORRES had communicated with the same 13 year-old girl form Massachusetts. MV1, MV2, and

MV3 knew this because they participated in group chats with the girl and TORRES. FBI’s

investigation relating to TORRES’s contacts with this minor girl is ongoing.

       38.     In addition, MV1 knew that TORRES had communicated via mobile device with

three other minor girls. MV1 stated that two of the girls were sisters, one was 16 years old and the

other was approximately 13 or 14 years old. The last girl was approximately 12 or 13 years old.

MV1 knew these three minor girls because they belong to the same religion as her family, but she

did not know their names. MV1 indicated that TORRES told her the girls sent him pictures of their

breasts and buttocks and that he had sent them a picture of his penis. FBI’s investigation relating to

TORRES’s contacts with these minor girls is ongoing.

       39.     In 2017, a parent of a different pre-pubescent minor girl reported to a local police

department in Connecticut that the minor girl disclosed to her that TORRES had touched her vagina.

When interviewed by a forensic child interviewer, the minor girl demonstrated how TORRES

touched her by grabbing her vagina with her right hand and by making a rubbing motion. The

investigation was closed in 2019 without charges against TORRES.




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                 CHARACTERISTICS OF ADULTS WHO PRODUCE,
          DISTRIBUTE, RECEIVE, AND/OR POSSESS CHILD PORNOGRAPHY

       40.     Based upon my knowledge, experience, and training in child exploitation

investigations, and the training and experience of other law enforcement officers with whom I have

had discussions, I know that there are certain characteristics common to many individuals involved

in such crimes:

               a.      Those who produce, distribute, transport, receive, or possess child

pornography, or who attempt to commit these crimes may receive sexual gratification, stimulation,

and satisfaction from contact with children; or from fantasies they may have viewing children

engaged in sexual activity or in sexually suggestive poses, such as in person, in photographs, or

other visual media; or from literature describing such activity.

                  b.   Those who produce, distribute, transport, receive, or possess child

pornography, or who attempt to commit these crimes may collect sexually explicit or suggestive

materials, in a variety of media, including photographs, magazines, motion pictures, videotapes,

books, slides and/or drawings or other visual media. Such individuals oftentimes use these

materials for their own sexual arousal and gratification. Further, they may use these materials to

lower the inhibitions of children they are attempting to seduce, to arouse the selected child partner,

or to demonstrate the desired sexual acts.

                  c.   Those who produce, distribute, transport, receive, or possess child

pornography, or who attempt to commit these crimes often possess and maintain copies of child-

pornography material, that is, their pictures, films, video tapes, magazines, negatives, photographs,

correspondence, mailing lists, books, tape recordings, etc., in the privacy and security of their

home, or in some other secure location. This is especially true for producers of child pornography




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who possess new, one-of-a-kind, child pornography that they created because such child

pornography is particularly valuable to them and for trading with others.

                d.   Likewise, those who produce, distribute, transport, receive, or possess child

pornography, or who attempt to commit these crimes often maintain their collections that are in a

digital or electronic format in a safe, secure and private environment, such as a computer and

surrounding area. ,Q P\ WUDLQLQJ DQG H[SHULHQFH VXFK LQGLYLGXDOV ZKR UHVLGH ZLWK

RWKHU SHRSOH PD\ DWWHPSW WR FRQFHDO WKHLU FROOHFWLRQV LQ SODFHV RWKHU WKDQ WKHLU

UHVLGHQFH LQFOXGLQJ WKHLU YHKLFOH V  DV D ZD\ WR SUHYHQW GLVFRYHU\ E\ RWKHUV

Furthermore, such individuals often transfer their collections of child pornography from

one device to another, or back up the files to other devices, in order not to lose their collections. In

addition, such individuals often transfer their collections of child pornography off of devices that

they carry around with them, such as cell phones, to smaller external devices that are easier to

hide.

                e.   Those who produce, distribute, transport, receive, or possess child

pornography, or who attempt to commit these crimes also may correspond with others to share

information and materials.


                I    %DVHG RQ P\ WUDLQLQJ DQG H[SHULHQFH DQG WKH WUDLQLQJ DQG H[SHULHQFH RI

RWKHUDJHQWV,NQRZWKDWWKHVH[XDODEXVHPLQRUVFDQUHVXOWLQEORRG'1$RURWKHUELRORJLFDO

SK\VLFDORUWUDFHHYLGHQFHRIVH[XDODFWLYLW\DQGWKDWVXFKHYLGHQFHFDQUHPDLQLQWKHORFDWLRQRI

WKHVH[XDODEXVHXQWLOUHPRYHGE\FOHDQLQJHQYLURQPHQWDOIDFWRUVRURWKHUZLVH,NQRZWKDWVXFK

HYLGHQFHKDVEHHQUHFRYHUHGE\ODZHQIRUFHPHQWLQWKHSDVWZHOOEH\RQGVL[ZHHNVHYHQPRQWKV

ODWHU

           COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS

         41.   As described above and in Attachment B-4, this application seeks permission to

search for records that might be found at the Target Vehicle, in whatever form they are found. One

form in which the records might be found is data stored on a computer’s hard drive or other storage
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I know that Target Phone 1 has capabilities that allow it to serve as a wireless telephone, digital

camera, portable media player, GPS navigation device, and personal digital assistant or “PDA.” In

my training and experience, examining data stored on devices of this type can uncover, among other

things, evidence that reveals or suggests who possessed or used the device.

       43.     Based on my knowledge, training, and experience, I know that electronic devices

can store information for long periods of time. Similarly, things that have been viewed via the

Internet are typically stored for some period of time on the device. This information can sometimes

be recovered with forensics tools.

       44.     Probable cause. I submit that if a computer or storage medium is found on the

Target Vehicle, there is probable cause to believe those records will be stored on that computer or

storage medium, for at least the following reasons:

                a.      Based on my knowledge, training, and experience, I know that computer
files or remnants of such files can be recovered months or even years after they have been
downloaded onto a storage medium, deleted, or viewed via the Internet. Electronic files downloaded
to a storage medium can be stored for years at little or no cost. Even when files have been deleted,
they can be recovered months or years later using forensic tools. This is so because when a person
“deletes” a file on a computer, the data contained in the file does not actually disappear; rather, that
data remains on the storage medium until it is overwritten by new data.

              b.      Therefore, deleted files, or remnants of deleted files, may reside in free space
or slack space—that is, in space on the storage medium that is not currently being used by an active
file—for long periods of time before they are overwritten. In addition, a computer’s operating
system may also keep a record of deleted data in a “swap” or “recovery” file.

                c.      Wholly apart from user-generated files, computer storage media—in
particular, computers’ internal hard drives—contain electronic evidence of how a computer has
been used, what it has been used for, and who has used it. To give a few examples, this forensic
evidence can take the form of operating system configurations, artifacts from operating system or
application operation, file system data structures, and virtual memory “swap” or paging files.
Computer users typically do not erase or delete this evidence, because special software is typically
required for that task. However, it is technically possible to delete this information.

               d.    Similarly, files that have been viewed via the Internet are sometimes
automatically downloaded into a temporary Internet directory or “cache.”


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       45.     Forensic evidence. As further described in Attachment B-1 and B-4, this application

seeks permission to locate not only electronically stored information that might serve as direct

evidence of the crimes described on the warrant, but also for forensic electronic evidence that

establishes how the devices were used, the purpose of their use, who used them, and when. There

is probable cause to believe that this forensic electronic evidence will be on any storage medium in

the Target Vehicle and on Target Phone 1 because:

                a.     Data on the storage medium can provide evidence of a file that was once on
the storage medium but has since been deleted or edited, or of a deleted portion of a file (such as a
paragraph that has been deleted from a word processing file). Virtual memory paging systems can
leave traces of information on the storage medium that show what tasks and processes were recently
active. Web browsers, e-mail programs, and chat programs store configuration information on the
storage medium that can reveal information such as online nicknames and passwords. Operating
systems can record additional information, such as the attachment of peripherals, the attachment of
USB flash storage devices or other external storage media, and the times the computer was in use.
Computer file systems can record information about the dates files were created and the sequence
in which they were created, although this information can later be falsified.

                 b.       As explained herein, information stored within a computer and other
electronic storage media may provide crucial evidence of the “who, what, why, when, where, and
how” of the criminal conduct under investigation, thus enabling the United States to establish and
prove each element or alternatively, to exclude the innocent from further suspicion. In my training
and experience, information stored within a computer or storage media (e.g., registry information,
communications, images and movies, transactional information, records of session times and
durations, internet history, and anti-virus, spyware, and malware detection programs) can indicate
who has used or controlled the computer or storage media. This “user attribution” evidence is
analogous to the search for “indicia of occupancy” while executing a search warrant at a residence.
The existence or absence of anti-virus, spyware, and malware detection programs may indicate
whether the computer was remotely accessed, thus inculpating or exculpating the computer owner.
Further, computer and storage media activity can indicate how and when the computer or storage
media was accessed or used. For example, as described herein, computers typically contain
information that log: computer user account session times and durations, computer activity
associated with user accounts, electronic storage media that connected with the computer, and the
IP addresses through which the computer accessed networks and the internet. Such information
allows investigators to understand the chronological context of computer or electronic storage
media access, use, and events relating to the crime under investigation. Additionally, some
information stored within a computer or electronic storage media may provide crucial evidence
relating to the physical location of other evidence and the suspect. For example, images stored on
a computer may both show a particular location and have geolocation information incorporated into
its file data. Such file data typically also contains information indicating when the file or image was
created. The existence of such image files, along with external device connection logs, may also

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indicate the presence of additional electronic storage media (e.g., a digital camera or cellular phone
with an incorporated camera). The geographic and timeline information described herein may
either inculpate or exculpate the computer user. Last, information stored within a computer may
provide relevant insight into the computer user’s state of mind as it relates to the offense under
investigation. For example, information within the computer may indicate the owner’s motive and
intent to commit a crime (e.g., internet searches indicating criminal planning), or consciousness of
guilt (e.g., running a “wiping” program to destroy evidence on the computer or password
protecting/encrypting such evidence in an effort to conceal it from law enforcement).

               c.      A person with appropriate familiarity with how a computer works can, after
examining this forensic evidence in its proper context, draw conclusions about how computers were
used, the purpose of their use, who used them, and when.

                d.    The process of identifying the exact files, blocks, registry entries, logs, or
other forms of forensic evidence on a storage medium that are necessary to draw an accurate
conclusion is a dynamic process. While it is possible to specify in advance the records to be sought,
computer evidence is not always data that can be merely reviewed by a review team and passed
along to investigators. Whether data stored on a computer is evidence may depend on other
information stored on the computer and the application of knowledge about how a computer
behaves. Therefore, contextual information necessary to understand other evidence also falls within
the scope of the warrant.

                e.    Further, in finding evidence of how a computer was used, the purpose of its
use, who used it, and when, sometimes it is necessary to establish that a particular thing is not
present on a storage medium. For example, the presence or absence of counter-forensic programs
or anti-virus programs (and associated data) may be relevant to establishing the user’s intent.

               f.       I know that when an individual uses a computer or cell phone the
individual’s computer or cell phone will generally serve both as an instrumentality for committing
the crime, and also as a storage medium for evidence of the crime. The computer or cell phone is
an instrumentality of the crime because it is used as a means of committing the criminal offense.
The computer or cell phone is also likely to be a storage medium for evidence of crime. From my
training and experience, I believe that a computer or cell phone used to commit a crime of this type
may contain: data that is evidence of how the device was used; data that was sent or received; notes
as to how the criminal conduct was achieved; records of Internet discussions about the crime; and
other records that indicate the nature of the offense.

       46.     Necessity of seizing or copying entire computers or storage media. In most cases, a

thorough search of a premises for information that might be stored on storage media often requires

the seizure of the physical storage media and later off-site review consistent with the warrant. In

lieu of removing storage media from the premises, it is sometimes possible to make an image copy

of storage media. Generally speaking, imaging is the taking of a complete electronic picture of the

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computer’s data, including all hidden sectors and deleted files. Either seizure or imaging is often

necessary to ensure the accuracy and completeness of data recorded on the storage media, and to

prevent the loss of the data either from accidental or intentional destruction. This is true because

of the following:

               a.      The time required for an examination. As noted above, not all evidence takes
the form of documents and files that can be easily viewed on site. Analyzing evidence of how a
computer has been used, what it has been used for, and who has used it requires considerable time,
and taking that much time on premises could be unreasonable. As explained above, because the
warrant calls for forensic electronic evidence, it is exceedingly likely that it will be necessary to
thoroughly examine storage media to obtain evidence. Storage media can store a large volume of
information. Reviewing that information for things described in the warrant can take weeks or
months, depending on the volume of data stored, and would be impractical and invasive to attempt
on-site.

                b.      Technical requirements. Computers can be configured in several different
ways, featuring a variety of different operating systems, application software, and configurations.
Therefore, searching them sometimes requires tools or knowledge that might not be present on the
search site. The vast array of computer hardware and software available makes it difficult to know
before a search what tools or knowledge will be required to analyze the system and its data on the
Premises. However, taking the storage media off-site and reviewing it in a controlled environment
will allow its examination with the proper tools and knowledge.

               c.      Variety of forms of electronic media. Records sought under this warrant
could be stored in a variety of storage media formats that may require off-site reviewing with
specialized forensic tools.

       47.     Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit seizing, imaging, or otherwise copying

storage media that reasonably appear to contain some or all of the evidence described in the warrant,

and would authorize a later review of the media or information consistent with the warrant. The

later review may require techniques, including but not limited to computer-assisted scans of the

entire medium, that might expose many parts of a hard drive to human inspection in order to

determine whether it is evidence described by the warrant.




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                                  Background on Cell-Site Data

        48.    In my training and experience, I have learned that the T-Mobile is a company that

provides cellular telephone access to the general public. I also know that providers of cellular

telephone service have technical capabilities that allow them to collect and generate information

about the locations of the cellular telephones to which they provide service, including cell-site data,

also known as “tower/face information” or “cell tower/sector records.” Cell-site data identifies the

“cell towers” (i.e., antenna towers covering specific geographic areas) that received a radio signal

from the cellular telephone and, in some cases, the “sector” (i.e., faces of the towers) to which the

telephone connected. These towers are often a half-mile or more apart, even in urban areas, and

can be 10 or more miles apart in rural areas. Furthermore, the tower closest to a wireless device

does not necessarily serve every call made to or from that device. Accordingly, cell-site data

provides an approximate location of the cellular telephone but is typically less precise than other

types of location information, such as E-911 Phase II data or Global Positioning Device (“GPS”)

data.

        49.    Based on my training and experience, I know that T-Mobile can collect cell-site data

about Target Phone 1. I also know that wireless providers such as T-Mobile typically collect and

retain cell-site data pertaining to cellular phones to which they provide service in their normal

course of business in order to use this information for various business-related purposes.

        50.    I also know that some cellular service providers also generate geolocation

information in the form of timing advance records, which are used by network engineers to optimize

the cellular network and record the date and time of usage, duration, communication type, cellular

tower / sector utilized, and estimated distance between the phone and cellular site are included. The

estimated distance between the phone and cellular tower is calculated using the time it takes for a


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signal to travel from the cellular site to the cellular device and then back to the cellular site. These

technologies can be referred to as Timing Advance / Time Difference of Arrival (TDOA), and may

also have specific terminology that is used by individual cellular service providers, including Round

Trip Time or Real Time Tool (“RTT”) by Verizon Wireless, Per Call Measurement Detail

(“PCMD”) by Sprint, and TrueCall by T-Mobile. AT&T also generates records with estimated

location information of devices on its network which are called Network Event LOcating Service

(“NELOS”) reports. Timing advance and similar geolocation reports can be utilized to approximate

an area where the phone was located at the time of the communication.

       51.     Based on my training and experience, I know that T-Mobile typically collects and

retains information about their subscribers in their normal course of business. This information can

include basic personal information about the subscriber, such as name and address, and the

method(s) of payment (such as credit card account number) provided by the subscriber to pay for

wireless telephone service. I also know that T-Mobile typically collects and retains information

about their subscribers’ use of the wireless service, such as records about calls or other

communications sent or received by a particular phone and other transactional records, in their

normal course of business. In my training and experience, this information may constitute evidence

of the crimes under investigation because the information can be used to identify Target Phone 1’s

user or users and may assist in the identification of co-conspirators and/or victims.

       52.     In my training and experience, it is known that while the requested information may

reveal inculpatory evidence that further shows the listed suspect was involved with the specified

crime, there may be exculpatory information also contained within the records requested. For

example, the records may show the specific mobile device was in the area of the crime at the time

of the crime; however, when reviewed in totality within the entire data set requested, it is possible


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the mobile device frequents that area and is perfectly consistent with typical patterns and trends

identified within the requested data set.

       53.        While it is not the intent of a search warrant to preserve exculpatory evidence, in

this specific request we are requesting information that we know will be purged based on the

retention periods defined by T-Mobile. Given the totality of requesting information that is

Electronically Stored Information (ESI) with a known retention period, the possible inculpatory

and exculpatory nature of these records, in addition to the Government’s requirement to preserve

all potential evidence in the course of a criminal investigation, I am requesting a time period of

February 1, 2021 to March 4, 2021.

       54.        Given the nature of the crime alleging that TORRES travelled to pick up MV1,

MV2, and MV3 on multiple occasions and brought them to a location to engage in sexual activity

with them, I believe it is reasonable and appropriate to request this period of time. Furthermore,

there is probable cause to support the requested records are of evidentiary value and the act of

preserving the requested period of time is within the “best practices” of preserving digital evidence

as well as ESI.

                                            CONCLUSION

       55.        Based on the foregoing, I request that the Court issue the proposed search warrants,

pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. §§ 2703(a), 2703(b)(1)(A),

2703(c)(1)(A) based on the facts set forth above.

       56.        Based on the information in this affidavit, I request that this Court issue a warrant

pursuant to Federal Rule of Criminal Procedure 41, authorizing the search of Target Phone 1 as

more fully described in Attachment A-1, for the items more specifically identified in Attachment

B-1.


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       57.     I further request that this Court issue a warrant, pursuant to 18 U.S.C. § 2703(c) and

Federal Rule of Criminal Procedure 41 authorizing the search of information associated with

Target Phone 1 further described in Attachment A-2, and I request that the Court direct T-Mobile

to disclose to the government any information described in Section I of Attachment B-2 that is

within its possession, custody, or control.

       58.     I further request that this Court issue a warrant pursuant to 18 U.S.C. § 2703(c) and

Federal Rule of Criminal Procedure 41, authorizing the search of information associated with the

Target Account further described in Attachment A-3, and I request that the Court direct Snap, Inc.

to disclose to the government any information described in Section I of Attachments B-3 that is

within its possession, custody, or control.

       59.     Based on the information in this affidavit, I request that this Court issue a warrant

pursuant to Federal Rule of Criminal Procedure 41 authorizing the search of the Target Vehicle,

as more fully described in Attachment A-4, for the items more specifically identified in Attachment

B-4.

       60.     Finally, based on the information in this affidavit, I also submit that there is probable

cause to believe, and I do believe, that HECTOR TORRES knowingly persuaded, induced, enticed

or coerced a minor to engage in sexual activity for which any person can be charged with a criminal

offense, in violation of 18 U.S.C. §2422(b), and knowingly used, persuaded, induced, enticed, or

coerced a minor to engage in sexually explicit conduct for the purpose of producing any visual

depiction of such conduct, in violation of 18 U.S.C. §2251(a). Accordingly, I respectfully request

that a criminal complaint and arrest warrant be issued authorizing the arrest of HECTOR TORRES

on those charges.




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       61.     To the extent these warrants will be served on a Service Provider, who will then

compile the requested records at a time convenient to it, reasonable cause exists to permit the

execution of the requested warrant at any time in the day or night.

                                                      Respectfully submitted,

                                                      BRIAN HANKO Digitally signed by BRIAN HANKO
                                                                  Date: 2021.04.12 13:32:18 -04'00'


                                                      Brian Hanko
                                                      Special Agent
                                                      Federal Bureau of Investigation

        The truth of the foregoing affidavit has been attested to me by FBI Special Agent Brian
                                   12 2021.
 Hanko over the telephone on April ____,

                             Digitally signed by S. Dave Vatti
        S. Dave Vatti        Date: 2021.04.12 13:51:14
        _________________________________________
                             -04'00'
        HONORABLE S. DAVE VATTI
        UNITED STATES MAGISTRATE JUDGE




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